  Case 2:19-cv-08972-CBM-FFM Document 26 Filed 01/17/20 Page 1 of 1 Page ID #:402

 Ashley E. Johnson
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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
 Seth Shapiro                                                     CASE NUMBER
                                                                                         2:19-cv-8972 -CBM(FFMx)
                                                    Plaintiffs)
                            v.

 AT&T Mobility LLC                                                      ORDER ON APPLICATION OF NON-
                                                                      RESIDENT ATTORNEY TO APPEAR IN A
                                                 Defendant(s).          SPECIFIC CASE PRO HAC VICE [25J

The Court, having determined whether the required fee has been paid, and having reviewed the Application of
Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
  Johnson, Ashley E                                                         of    Gibson Dunn & Crutcher LLP
  Applicant's Name (Last Name, First Name &Middle Initial                         2001 Ross Avenue, Suite 2100
  214-698-3100                        214-571-2900                                Dallas, TX 75201
  Telephone Number                    Faz Number
  ajohnson(agibsondunn.com
                           E-Mail Address                                        Firm/Agency Name &Address
for permission to appear and participate in this case on behalf of
  AT&T Mobility, LLC



  Names) ofParty(ies) Represent                            ❑ Plaintiff(s) ~ Defendant(s) ❑Other.•
and designating as Local Counsel
  McRae. Marcellus A.                                                       of    Gibson Dunn & Crutcher LLP
  Designee 's Name (Last Name, First Name &Middle Initial                         333 South Grand Avenue
  140308                       213-229-7000           2t3-229-7520                Los Angeles, CA 90071-3197
  Designee 's Cal. Bar No.      Telephone Number       Fczx Number
  mmcrae(a~gibsondunn.com
                       E-Mail Address                                            Firm/Agency Name &Address
HEREBY ORDERS THAT the Application be:
  C~GRANTED
  ❑DENIED:




IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ❑ be refunded C~ not be refunded.

  JANUARY 17, 2020
                                                                          U.S. District Judge/U.S. Magistrate Judge
 G-64 Order(OS/16)   (PROPOSED)ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE   PegC 1 Of 1
